Case 6:18-cv-01069-RBD-LRH Document 201-30 Filed 03/18/21 Page 1 of 2 PagelD 4273

Student No: R01119600 Date Issued: 08-JAN-2019

Record of: UNOFFICIAL Page: 1

Current Name:

 

OFFICE OF STUDENT RE
ROLLINS COLLEGE CORDS

Issued To: Matt Hawks, Rollins HR
—— 1000 HOLT AVENUE -2713

 

 

Course Level: Undergraduate Term Information continued: WINTER PARK, FL 32789 - 4499
Only Admit: Fall 2014 - A&S/CPS/Holt Communication Studies
Current Program SUBJ NO. C COURSE TITLE CRED GRD PTS R
College : College of Liberal Arts/A&S
Major : Business COM 100 R Intro Communication Studies 4.00 B 12.00
Minor : Communication Studies IMW# 10001 R Identities:ConformityéDeviance 4.00 B+ 13,32
MAT 108 R Essential Math 4.00 A 16.00
Degrees Awarded: Artium Baccalaureus 31-DEC-2017 MAT 108L R Essential Math Lab 0.00 CR 0.00
Primary Degree PEA 51 R Co-Ed Basketball 1.00 CR 0.00
College : College of Liberal Arts/A&S SPN 201 R Intermediate Spanish I 4.00 A- = 14.68
Major : Business Ehrs: 17.00 GPA-Hrs: 16.00 QPts: 56.00 GPA: 3.50
Minor ; Communication Studies Dean's List
Inst, Honors: Cum Laude Good Standing
SUBJ NO. C COURSE TITLE CRED GRD PTS R Fall 2015- A&S/CPS/Holt
College of Liberal Arts/A&S
Business
TRANSFER CREDIT ACCEPTED BY THE INSTITUTION: COM 110 R_ Public Speaking 4.00 Bt 13,32
ENG 140 R Writing About: Magic Kingdom 4.00 A- 14.68
* Advanced Placement IMW 150A3 R Men, Masculinity and Movies 4.00 A- = 14.68
PEA 62 R  Sailing/Canoeing 0.00 P 0.00
HIS 142 US History 4.00 T4 PED 101 R Health & Wellness 4.00 Bt 13.32
Psy 101 Psychology 4.00 T4 Ehrs: 16.00 GPA-Hrs: 16.00 QPts: 56.00 GPA: 3.50
Ehrs: 8.00 GPA-Hrs: 0.00 QPts: 0.00 GPA: 0.00 Dean's List

Good Standing
INSTITUTION CREDIT:
Spring 2016- A&S/CPS/Holt

Fall 2014 - A&S/CPS/Holt College of Liberal Arts/A&S

College of Liberal Arts/A&S Business

Business BUS 101 R - Bus, Innow & Entrep Thinking 4.00 A- 14,68
COM 220 R Interpersonal Communication 4,00 Bt 13.32 BUS 135 R Business Law & Ethics 4.00 A 16.00
HIS 113 R History of Modern Europe I 4.00 A- 14.68 COM 240 R Intercultural Communication 4.00 A 16.00
IFT 112 H Creating Web Home Pages 1.00 CR 0.00 COM 295 R Research Methods in Comm 4.00 A- 14.68
Rcc 100 R The World in 1996 4,00 Bt 13.32 IMW 15083 R Clickbait Chemistry 4.00 A 16.00
SPN 110 R Review of Elementary Spanish 4.00 A 16.00 Ehrs: 20.00 GPA-Hrs: 20.00 QPts: 77.36 GPA: 3.86

Ehrs: 17,00 GPA-Hrs: 16.00 QPts: 57.32 GPA: 3.58 President's List
Dean's List Good Standing
Good Standing
Fall 2016- CLA/HOLT

Spring 2015 - A&S/CPS/Holt College of Liberal Arts/A&s

College of Liberal Arts/A&S eeteetetaeeeeeieicrreee CONTINUED ON PAGE 2 eeatectet eter eetrkse

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Student No: R01119600

Record of:
Level: Undergraduate

 

Term Information continued:
Business
SUBJ NO. C COURSE TITLE CRED GRD PTS R
BUS 230 R  Financial/Managerial Acctg 4,00 B 12.00
BUS 233 R Micro & Macro Economics 4.00 A- 14.68
BUS 236 R Statistics for Business 4.00 Bt 13.32
BUS 245 R Intl Organizational Behavior 4.00 A 16.00
IMM 200H2 R Peace Through Film 4.00 A- = 14,68
Ehrs: 20.00 GPA-Hrs: 20.00 QPts: 70.68 GPA: = 3.53
Dean's List
Good Standing
Spring 2017 - CLA/HOLT
College of Liberal Arts/A&S
Business
BUS 320 R Entrepreneurial & Corp Finance 4.00 B+ 13.32
BUS 330 2 Entrepreneurial Marketing 4.00 A 16.00
IM¥ 302 R Who Am I in This New Place? 4.00 A- 14,68
MGT 312 R Responsible Bus Leadership 4.00 A 16.00
Ehrs: 16,00 GPA-Hrs: 16.00 QPts: 60.00 GPA: 3.75
President's List
Good Standing
Summer 2017 - CLA/KOLT
College of Liberal Arts/Aa$
Business
BUS 354F R High Performance Organizations 4.00 A 16.00
BUS 390F R Special Topic in Business 4.00 A 16,09
Ehrs: 8.00 GPA-Hrs: 8.00 Pts: 32.00 GPA: 4.00
Good Standing
Fall 2017 - CLA/HOLT
College of Liberal Arts/A&S
Business
BUS 350 R Supply Chain Management 4.00 A- = 14.68
BUS 400 2 Strategic Management 4,00 A- = 14,68
COM 312 R Persuasion 4,00 A- = 14.68
ININ 397 R Internship 2.00 CR 0.00

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Date Issued: 08-JAN-2019

 

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SUBJ NO. C COURSE TITLE CRED GRD PIS R
Institution Information continued:
MGT 342 & Human Resource Management 4.00 A~ 14.68
Ehrs: 18,00 GPA-Hrs: 16.00 QPts: 58.72 GPA: 3.87
Dean's List

Good Standing
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Earned Hrs GPA Hrs Points GPA
TOTAL INSTITUTION 132.00 128.00 468.08 3.65
TOTAL TRANSFER 8.00 0.00 0.00 0.00
OVERALL 140.00 128.00 468.68 3.65

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